  USCA11 Case: 22-11200       Document: 37     Date Filed: 04/14/2023   Page: 1 of 2


                IN THE UNITED STATES COURT OF APPEALS
                      FOR THE ELEVENTH CIRCUIT

AIR FORCE OFFICER,                             )
                                               )     Case No. 22-11200
                     Plaintiff-Appellee,       )
v.                                             )
                                               )
LLOYD J. AUSTIN, III, et al.,                  )
                                               )
                     Defendants-Appellees.     )

                          APRIL 2023 STATUS REPORT

        Pursuant to the Court’s August 24, 2022 Order, the parties hereby jointly

provide this status update:

      The government’s petition for panel rehearing or rehearing en banc in

        Doster v. Kendall, Nos. 22-3497, 22-3702 (6th Cir.) is pending ruling by the

        Sixth Circuit.




                                           1
 USCA11 Case: 22-11200      Document: 37   Date Filed: 04/14/2023   Page: 2 of 2


Dated: April 14, 2023


/s/ Adam S. Hochschild
Adam S. Hochschild                     Stephen M. Crampton
Hochschild Law Firm, LLC               THOMAS MORE SOCIETY
THOMAS MORE SOCIETY                    PO Box 4506
PO Box 401                             Tupelo, MS 38803
Plainfield, VT 05667                   (662)255-9439
(314)503-0326                          scrampton@thomasmoresociety.org
adam@hochschildlaw.com
                                       Michael G. McHale
Mary Catherine Hodes                   THOMAS MORE SOCIETY
THOMAS MORE SOCIETY                    1056 Burt Circle, Ste. 110
112 S. Hanley Rd., Second Floor        Omaha, NE 68114
Clayton, MO 63105                      (312)782-1680
(314)825-5725                          mmchale@thomasmoresociety.org
mchodes@thomasmoresociety.org

                         Counsel for Plaintiff-Appellee



BRIAN M. BOYNTON
  Principal Deputy Assistant Attorney General
PETER D. LEARY
  United States Attorney
CHARLES W. SCARBOROUGH
/s/ Sarah J. Clark
SARAH J. CLARK
  Attorneys, Appellate Staff
  Civil Division
  U.S. Department of Justice
  950 Pennsylvania Ave., NW
  Washington, DC 20530
  202-305-8727

                        Counsel for Defendants-Appellees



                                       2
